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11                               UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN JOSE DIVISION

14

15   APPLE INC., a California corporation,           Case No.   11-cv-01846-LHK

16                        Plaintiff,                 [PROPOSED] ORDER GRANTING
                                                     APPLE’S ADMINISTRATIVE
17          v.                                       MOTION TO AUGMENT RECORD
                                                     ON ITS MOTION FOR
18   SAMSUNG ELECTRONICS CO., LTD., A                PRELIMINARY INJUNCTION
     Korean business entity; SAMSUNG
19   ELECTRONICS AMERICA, INC., a New York
     corporation; SAMSUNG
20   TELECOMMUNICATIONS AMERICA, LLC, a
     Delaware limited liability company.,
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                          Defendants.
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     [PROPOSED] ORDER GRANTING MOTION TO AUGMENT RECORD
     CASE NO. 11-CV-01846-LHK
     sf-3057496
      Case 5:11-cv-01846-LHK Document 299-1 Filed 10/11/11 Page 2 of 2



 1          By an administrative motion submitted under seal on October 11, 2011, Plaintiff Apple
 2   Inc. (“Apple”) has moved to augment the record on its Motion for Preliminary Injunction.
 3   Specifically, Apple has requested that the court consider five documents attached as Exhibits A
 4   through E to the Declaration of Minn Chung in Support of Apple’s Administrative Motion to
 5   Augment Record (“Chung Declaration”). Samsung did not produce these documents until
 6   October 7 and 10, 2011, which was after the September 12 deadline for Samsung to produce
 7   responsive documents, and after Apple had filed its Preliminary Injunction Reply on September
 8   30, 2011.
 9          Accordingly, for good cause shown, Apple’s Administrative Motion to Augment Record
10   on its Motion for Preliminary Injunction is hereby GRANTED. IT IS HEREBY ORDERED that
11   the record on Apple’s Motion for Preliminary Injunction is and shall be augmented to include
12   copies of Exhibits A through E to the Chung Declaration.
13          IT IS SO ORDERED.
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15   Dated: October __, 2011                     By:
                                                            HONORABLE LUCY H. KOH
16                                                       UNITED STATES DISTRICT COURT
                                                                    JUDGE
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     [PROPOSED] ORDER GRANTING MOTION TO AUGMENT RECORD                                                1
     Case No. 11-cv-01846-LHK
     sf-3057496
